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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
KAROLINA RAI et al.,                     )
                                         )
              Plaintiffs,                )
                                         )
v.                                       )
                                         )       Civil Action No. 21-cv-863-TSC
ANTONY BLINKEN, in his official          )
capacity as U.S. Secretary of State,     )
                                         )
              Defendants.                )
                                         )


                               MEMORANDUM OPINION

        On September 27, 2021, the court issued a Memorandum Opinion and Order

granting in part and denying in part Defendants’ motion to dismiss and granting in part

and denying in part Plaintiffs’ motion for preliminary injunction. ECF Nos. 53, 54. In

relevant part, the court ordered Defendants to reserve 966 diversity visa numbers “for

the future processing and adjudication of 2021 selectees’ applications awaiting

adjudication” at the embassies and consular posts previously subject to Presidential

Proclamations 9984 and 10143 and the Defendants’ regional No-Visa Policy. ECF No.

54 at 2.

        On October 1, 2021, Defendants filed a motion seeking clarification of the

court’s order. ECF No. 56. Specifically, Defendants requested clarity on the timing by

which Defendants shall begin and complete the processing and adjudication of the 966

reserved visas. Id. Defendants proposed that they begin as soon as reasonably feasible



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to do so, and that they be given until the end of fiscal year 2022 to complete the

processing and adjudication of the 966 reserved diversity visas. Id.

       Plaintiffs agreed that clarification was needed on the timing by which

Defendants shall begin and complete the processing and adjudication of the 966

reserved diversity visas. Plaintiffs, however, disagreed with respect to what that timing

should be; they asked the court to order Defendants to begin processing and

adjudicating the 966 reserved diversity visas within 30 days and to complete that

processing and adjudication by March 31, 2022. ECF No. 57 at 5.

       On October 14, 2021, Plaintiff submitted a Notice of Supplemental Authority,

ECF No. 59, drawing the court’s attention to a recent order in Gomez v. Biden, 1:20-cv-

1419-APM (Oct. 13, 2021). Like the present case, the court in Gomez ordered that the

government reserve a finite number of diversity visa numbers for future processing and

adjudication and ordered the government to begin processing those reserved diversity

visas “as soon as feasible and to conclude such processing no later than the end of the

2022 Fiscal Year.” Id. at 3. The court in Gomez further explained that it must balance

the interests of the plaintiffs with “the resource constraints of the State Department,

along with the interests of thousands of others who are patiently waiting for their

immigrant and nonimmigrant visas to be adjudicated and issued by consular offices.

Requiring the State Department to carry out the court’s order by end of Fiscal Year

2022 strikes a fair balance.” Id. at 4.

       Upon consideration of the parties’ arguments and Plaintiffs’ supplemental

authority, which supports Defendants’ proposed timeline, the court agreed that


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requiring Defendants to begin processing and adjudicating the 966 reserved visas as

soon as it is reasonably feasible to do so, and to complete that process by the end of

fiscal year 2022, strikes a fair balance between the parties’ competing interests and is

consistent with the court’s desire to achieve an equitable outcome in this case.

       The court therefore granted Defendants’ motion to clarify and, for the reasons

stated above, provided the parties with clarification on their questions of timing. ECF

No. 61. The court restates that clarification here:

       1. Defendants shall begin processing and adjudicating the 966 reserved fiscal

          year 2021 diversity visa applications as soon as it is reasonably feasible to do

          so. Defendants shall complete the processing and adjudication of those 966

          applications by the end of fiscal year 2022.

       2. Defendants shall report their progress via a status report on November 15,

          2021 and continue reporting every 30-days thereafter until such time as all

          966 diversity visa applications have been adjudicated.



Date: October 25, 2021


                                          Tanya S. Chutkan
                                          TANYA S. CHUTKAN
                                          United States District Judge




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